 8:09-cr-00126-LSC-TDT       Doc # 67     Filed: 10/22/09    Page 1 of 2 - Page ID # 197




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:09CR126
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
MENGISTU ZARZAR,                             )
                                             )
              Defendant.                     )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 66). See Order on Sentencing Schedule, ¶

6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 32, 33, 34, 40, 52, and 56 of the PSR. Paragraph 56

adds 2 criminal history points under U.S.S.G. § 4A1.1(d) for committing the instant offense

while allegedly under a criminal justice sentence for the offense described in ¶ 53. The

remaining paragraphs to which the Defendant objects set out alleged prior criminal

convictions. The Defendant objects to the fact of each conviction and/or the sentence

imposed.

       If not resolved before sentencing, the objections will be heard. The government

would have the burden by a preponderance of the evidence. However, it is expected that

counsel would view and/or copy the probation office’s records in that office and determine

whether these issues may be resolved before sentencing.
 8:09-cr-00126-LSC-TDT        Doc # 67     Filed: 10/22/09    Page 2 of 2 - Page ID # 198




       IT IS ORDERED:

       1.     The Defendant’s objections to ¶¶ 32, 33, 34, 40, 52, and 56 of the PSR will

be heard at sentencing;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 22nd day of October, 2009.


                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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